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     ROBERT VENEMAN, SANDRA VENEMAN, and
 6   TEMPLE CREEK DAIRY, INC.
 7
 8                                 UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     ROBERT VENEMAN, SANDRA                                      Civil Action No.:
11   VENEMAN, AND TEMPLE CREEK                          5
     DAIRY, INC.,
12                                                      ) COMPLAINT
                     Plaintiffs,
13
             vs.                                        ) (DEMAND FOR JURY TRIAL)

                                                        l5
14
     CNH INDUSTRIAL AMERICA LLC,
15
                     Defendant.
16
17           Plaintiffs, Robert Veneman, Sandra Veneman, and Temple Creek Dairy, Inc.
18   ("Veneman"), by their attorneys, sues Defendant CNH Industrial America LLC ("CNH"). As
19   grounds for its complaint, Veneman states as follows:
20
21                                     JURISDICTION AND VENUE
22       1. This court has jurisdiction over the subject matter of this controversy pursuant to 28
23   U.S.C.A. §1332.
24       2. The amount in controversy exceeds $75,000.00, exclusive of interest, fees, and costs,
25   which is the sum specified by 28 U.S.C. § 1332.
26       3. This Court has personal jurisdiction over CNH by virtue of its transacting and doing
27   business in this judicial district, its other contacts with this district, and/or its purposeful
28   availment of the benefits of the laws of this judicial district.

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1        4. Venue is appropriate in this judicial district under 28 U.S.C.A. § 139l(a), because Robert
 2   and Sandra Veneman are California residents and Temple Creek Dairy, Inc. is a California
 3   corporation and Defendant is a Delaware corporation.
4        5. Venue is proper within this jurisdiction pursuant to 28 U.S.C.A. § 1391(b) because the
 5   situs of the incident giving rise to this occurred in San Joaquin County, California.
 6
 7                                               PARTIES
 8       6. Robert and Sandra Veneman are California residents and citizens of the State of
 9   California who owned real and personal located at or near 26250 Carter Road, Escalon,
10   California.
11       7. Temple Creek Dairy, Inc. is a corporation organized under the laws of the State of
12   California, having its principle place of business in Escalon, California.
13       8. At all times relevant, Temple Creek owned real and personal property located at or near
14   26250 Carter Road, Escalon, California.
15       9. CNH is a foreign limited liability company organized under the laws of the State of
16   Delaware, having its principle place of business in Racine, Wisconsin.
17       10. At all times relevant, Veneman were the owners of the Case IH Magnum 315 Tractor,
18   Serial Number ZCRD06288 ("the Tractor").
19
20                                      STATEMENT OF FACTS
21       11. Upon information and belief, CNH was and/or is the manufacturer of the Tractor.
22       12. On or about March 14, 2013, Veneman purchased the Tractor from N&S Tractor.
23       13. At all times relevant herein, CNH provided a warranty for the Tractor.
24       14. On or about May 27, 2016, the Tractor, while parked at 26250 Carter Road, Escalon,
25   California, started on fire.
26       15. As a result of the fire, the Tractor was destroyed and Veneman suffered damages in an
27   amount in excess of $75,000.00.
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                                       FIRST CAUSE OF ACTION
 1                                         (NEGLIGENCE)
 2       16. Veneman incorporates by reference the allegations of paragraphs 1 through 16 of this
 3   complaint as though fully set forth herein.
 4       17. At all relevant times, CNH owed Veneman a duty to exercise reasonable skill and care in
 5   designing, manufacturing, assembling, testing, inspecting, distributing, and selling the Tractor.
 6       18. Notwithstanding this duty, and in breach thereof, CNH, by and through its employees,
 7   agents, and/or representatives, was otherwise careless and negligent in the design, manufacture,
 8   assembly, testing, inspection, distribution, and/or sale of the Tractor.
 9       19. As a direct and proximate result of the negligence of CNH, afire originated within the
10   Tractor and damaged or destroyed the Tractor as well as other property owned by Veneman.
11       20. As a result of saidfire, Veneman suffered the damages described in paragraph 15, above.
12
                                      SECOND CAUSE OF ACTION
13                                    (BREACH OF WARRANTIES)
14       21. Veneman incorporates by reference the allegations of paragraphs 1 through 21 of this
15   complaint as though fully set forth herein.
16       22. Defendant CNH expressly or impliedly warranted thefitness and merchantability of the
17   Tractor described herein.
18       23. At all relevant times, CNH was in the business of selling, designing, manufacturing,
19   advertising, marketing, distributing, and/or servicing products such as the Tractor, including the
20   subject Tractor.
21       24. Defendant CNH has breached the aforementioned express or implied warranties offitnes
22   and merchantability.
23       25. Veneman took reasonable steps to notify CNH within a reasonable time that the Tractor
24   was not as represented.
25       26. At the time of purchase, CNH knew or had reason to know that Veneman intended to use
26   the Tractor as a tractor.
27       27. As a manufacturer, etc. of tractors, CNH knew or had reason to know that Veneman
28   would rely on the skill and judgment of NCH in their purchase and use of the Tractor, which

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 1   reliance was justified.
 2       28. The Tractor was not fit for its intended use as a tractor because it caught on fire during
 3   use.
 4       29. The Tractor was not fit for the ordinary purposes of tractors or did not conform to the
 5   quality established by the prior dealings or course of trade between Veneman and CNH.
 6       30. Veneman took reasonable steps to notify CNH within a reasonable time that the Tractor
 7   did not have the expected quality.
 8       31. Said breaches of warranties were a direct and proximate cause ofVeneman's damages
 9   described in paragraph 15, above.
10
                                      THIRD CAUSE OF ACTION
11                                  (STRICT PRODUCT LIABILITY)
12       32. Veneman incorporates by reference the allegations of paragraphs 1 through 32 of this
13   complaint as though fully set forth herein.
14       33. At all relevant times, CNH was in the business of selling, designing, manufacturing,
15   advertising, marketing, distributing, and/or servicing products such as the Tractor, including the
16   subject Tractor.
17       34. The Tractor (and its component parts) was expected to reach the general public and
18   consumers in the condition in which it was manufactured, designed, assembled, tested,
19   distributed, marketed, merchandised, advertised, serviced, and sold.
20       35. CNH knew or had reason to know that the purchaser and user of the Tractor would rely
21   on the skill and judgment of CNH it its sale, design, manufacture, and distribution of such
22   products and that those products would be used by consumers like Veneman without inspection
23   for defects.
24       36. CNH had a duty not to sell or supply products, including the Tractor, in a defective
25   condition that was unreasonably dangerous to foreseeable users when used in a reasonably
26   expected manner.
27       37. Upon information and belief, the Tractor was defective and unreasonably dangerous
28   when it left CNH's control and was placed into the stream of commen.:e.

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 1       38. Upon information and belief, the Tractor reached Veneman without substantial change.
 2       39. At all relevant times, Veneman used the Tractor for its customary, reasonably
 3   foreseeable, and intended purpose.
 4       40. When the Tractor left CNH's control and was placed into the stream of commerce, it was
 5   unreasonably dangerous and defective.
 6       41. CNH failed to provide a safe product by failing to properly manufacture, style, assemble,
 7   install, construct, advertise, promote, import, sell and distribute, warn, recall, and/or take all
 8   other necessary reasonable precautions to prevent loss.
 9       42. As a direct and proximate result of the aforementioned defect and/or unreasonably
10   dangerous conditions of the Tractor, a fire originated within the Tractor and damaged or
11   destroyed the Tractor as well as other personal property.
12       43. As a result of said fire, Veneman suffered the damages described in paragraph 15, above.
13
                                      FOURTH CAUSE OF ACTION
14                                       (FAILURE TO WARN)
15      44. Veneman incorporates by reference the allegations of paragraphs 1 through 44 of this
16   complaint as though fully set forth herein.
17      45. CNH negligently failed to provide Veneman with reasonable warnings of defects and
18   hazards which it knew or should have known were present in the Tractor described herein.
19      46. As a direct and proximate result of the aforementioned failure to warn, Veneman suffered
20   damages described in paragraph 15, above.
21
22                                        REQUEST FOR RELIEF
23          WHEREFORE, Veneman prays for judgment against CNH:
24              1. For monetary damages in the amount to be proven at trial, which may exceed
25                   $75,000.00;
26              2. For prejudgment interest and post-judgment interest according to proof at trial;
27              3. For attorneys' fees and cost of suit where allowed by law; and
28              4. For such other relief as the Comt deems just and proper.

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 1       WHEREFORE, Plaintiffs Robert Veneman, Sandra Veneman, and Temple Creek Dairy, Inc.
 2   respectfully request this Honorable Court enter a judgment against Defendant CNH Industrial
 3   America LLC in an amount in excess of at least $75,000.00, including interest, costs, and
 4   attorneys' fees.
 5
 6                                     DEMAND FOR JURY TRIAL
 7           Plaintiffs Robert Veneman, Sandra Veneman, and Temple Creek Dairy, Inc. hereby
 8   request a jury trial on all issues raised in this complaint.
 9
     Dated this 24th day of May, 2019                     GROTEFELD HOFFMANN
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13                                                        Jordan Everakes
                                                          Attorneys for Plaintiffs
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